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     6                           UNITED STATES DISTRICT COURT                                             1
                                                                                                          I
     7                                    DISTRICT OFNEVADA                                               l
                                                                                                          I
     8 UNITED STATES OF AM ERICA ,                                                                        !
                                                      )                                                   j
                                                      )                                                   l
     9                       Plaintiff,               )                                                   1
                                                      )                                                   i
    10         v.                                     )         2:10-CR-356-LDG ILRLI                     I
    1J JEANNIE SUTH                                   )                                                   I
                         ERLAND,                      )                                                   I
                                                      )
    12                       Detkndant.               )                                                   t
    13                      SECOND AM ENDED O RDER OF FORFEITURE
                                                                                                          j
    14        O                                                                                           I
                  n February 2,2012,defendantJEANNIE SJJTHERLAND wasfound guilty by ajuly                 1
                                                                                                          I
    15 convicting herin CountOne with Conspiracy to CormnitW ire Fraud and Bank Fra                       I
                                                                                        ud in violation   1
                                                                                                          I
    16 ofTitle 18,United StatesCode,Sections1343, 1344(1)and(2),and 1349,andinCountThreewith

    17 BarlkFraud inviolationofTitle 18,UnitedSotesCode, Section 134441)and(2),JuryVerdict,ECF
    18 N o. 287.                                                                                          I

    19        This Courtfotm d on Februm'y 9, 2012,thatJEANNIE SUTHERLAND shallpay acrim inal

    20 forfeittlremoneyjudpnentof$965,000.00inUnitedStatesCurrency,pursuanttoFed R.Crim .P.
                                                                                          .



    21 32.2(b)(1)and(2(
                      );Title18,UnitedStatesCode,Section981(a)(1)(C)andTitle28,United States
    22 Code,Section2461(c);Title l8,United SotesCode,Section 982(a)(2)(A);andTitle21,Unitcd
    23 StatesCode,Section 853(19.OrderofForfeiture,ECFNo.294.
    24        On February 15,2012,thisCourtrescinded and vacated the February 9, 20 12 order.Order
    25 Rescinding and Vacating Forfeiture Order,ECF No. 298.
    26 ...
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     1       ThisCourtsubsequently found,on M ay 16,2012,thatJEANNIE SUTHERLAND shallpay

     2 acriminalforfeituremoneyjudgmentof$2,350,350.00inUnitedStatesCurrency,pursuanttoFed,
     3 R.Crim.P.32.2(b)(1)and (2% Title18,United StatesCode,Section 981(a)(l)(C)and Title28,
     4 UnitedStatesCode,Section2461(c);Title18,UnitedStatesCode,Section982(a)(2)(A);andTitle
     5 21,United StatesCode,Section 85341$.AmendedOrderofForfeiture,ECFNo.330.
                                        .



     6       Thereafter,theUnited StatesofAmerica recognized amathematicalerrorand now asksthe

     7 Courtto lowerthe amountofthe criminalforfeiture money judgmentfrom $2,350,350.00 to
     8 $2,341,350.00.
     9       This Courtfinds that JEANNIE SUTHERLAND shallpay a criminalforfeiture money

    l0 judgmentof$2,341,350.00inUnitedStatesCurrencytotheUnitedStatesofAmerica,pursuantto
    11 Fed.R.Crim .P.32.2(1941)and(2);Title18,UnitedStatesCode,Section981(a)(1)(C)andTitle28,    .
    12 UnitedStatesCode,Section246l(c);Titlel8,UnitedStatesCodesSection982(a)(2)(A);andTitle
    l3 21,United StatesCode,Section 85341$.
                                       .



    14       THEREFORE,IT ISHEREBY ORDERED , ADJUDGED,AND DECREED thattheUnited

    15 StatesrecoverfrOm JEANNIE SUTHERLAND acliminalforfeituremoneyjudgmentintheamount
    16 of$2,341,350.00 inUnhed StatesCurrency.

    17       DATEDthis 13 dayof Jtlv'hc                  ,2012.
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,   21                                         UNITED S ATESDIS/RJ TJU GE
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